             Case 22-90032 Document 1069 Filed in TXSB on 11/16/22 Page 1 of 7




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                               §
    In re:                                                     § Chapter 11
                                                               §
    GWG Holdings, Inc., et al.,1                               § Case No. 22-90032 (MI)
                                                               §
                     Debtors.                                  § (Jointly Administered)
                                                               §

        MOTION FOR ENTRY OF AN ORDER AUTHORIZING THE OFFICIAL
     COMMITTEE OF BONDHOLDERS TO FILE UNDER SEAL EXHIBITS FOR THE
         HEARING ON NOVEMBER 17, 2022 AT 1:30 P.M. CENTRAL TIME


If you object to the relief requested, you must respond in writing. Unless otherwise directed
by the court, you must file your response electronically at https://ecf.txsb.uscourts.gov/ within
twenty-one days from the date this application was filed. If you do not have electronic filing
privileges, you must file a written objection that is actually received by the clerk within
twenty-one days from the date this motion was filed. Otherwise, the court may treat the
pleading as unopposed and grant the relief requested.


             The Official Committee of Bondholders (the “Committee”), duly appointed in the above-

captioned chapter 11 cases (the “Chapter 11 Cases”) of GWG Holdings, Inc. (“GWG Holdings”)

and its affiliated debtors and debtors-in-possession (collectively, the “Debtors”), by and through

its undersigned counsel, files this Motion for Entry of an Order Authorizing the Official Committee

of Bondholders to File Under Seal Exhibits for the Hearing on November 17, 2022, at 1:30 P.M.

Central Time (the “Motion to Seal”). In support of this Motion to Seal, the Committee respectfully

states as follows:




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtors’ federal tax identification
    number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); and GWG Life USA, LLC (5538). The location
    of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service address is 325 N. St. Paul
    Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and these chapter 11 cases is
    available at the website of the Debtors’ proposed claims and noticing agent: https://donlinrecano.com/gwg.

                                                           1
        Case 22-90032 Document 1069 Filed in TXSB on 11/16/22 Page 2 of 7




                                          RELIEF REQUESTED

        1.       Pursuant to Bankruptcy Code section 107(b), Federal Rule of Bankruptcy

Procedure 9018, and Bankruptcy Local Rule 9037-1, the Committee requests that the Court enter

an order to file under seal exhibits that contain information the parties to these Chapter 11 Cases

have designated Confidential2 that are listed in the Official Committee of Bondholders’ Witness

and Exhibit List for the Hearing Scheduled for November 17, 2022 at 1:30 P.M. Central Time (the

“Witness and Exhibit List”) and related relief. The Committee proposes providing unsealed copies

of the Witness and Exhibit List, with all exhibits attached, on a confidential basis to (a) the Court,

(b) the United States Trustee for the Southern Districts of Texas (the “U.S. Trustee”), (c) any party

in interest who has agreed to be bound by the Protective Order [Docket. No. 632] (the “Protective

Order”) entered in the above-captioned Chapter 11 Cases that requests such documents, and (d)

any other party as may be ordered by the Court.

                                     JURISDICTION AND VENUE

        2.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a

core proceeding pursuant to 28 U.S.C. § 157(b). The Committee confirms its consent, pursuant to

rule 7008 of the Federal Rules of Bankruptcy Procedure to the entry of a final order by the Court

in connection with this Motion to Seal to the extent that it is later determined that the Court, absent

consent of the parties, cannot enter final orders or judgments in connection herewith consistent

with Article III of the United States Constitution.

        3.       Venue is proper pursuant to 28 U.S.C. § 1408.




2
 Capitalized terms used but not defined herein have the meaning ascribed to them in the Protective Order [Docket
No. 632].

                                                        2
       Case 22-90032 Document 1069 Filed in TXSB on 11/16/22 Page 3 of 7




       4.      The bases for the relief requested herein are Bankruptcy Code sections 105(a) and

107(b), Bankruptcy Rule 9018, and Rules 9037-1 and 9013-1 of the Local Bankruptcy Rules for

the Southern District of Texas (the “Local Rules”).

                                         BACKGROUND

       5.      On November 14, 2022, the Court held a Status Conference following the Debtors’

Emergency Motion for a Status Conference [Docket No. 1055] (the “Status Conference”).

       6.      At the Status Conference, the Court entered an order Temporarily Suspending the

Authority of the Board of Directors of GWG Holdings, Inc. [Docket No. 1061]. It further ordered

that a hearing will be conducted on November 17, 2022 at 1:30 P.M. on whether one or more of

the Directors of GWG Holdings, Inc. who acquiesced in or approved of the preparation of the

Form 8K filed on March 11, 2021 should be removed from the Board of Directors of GWG

Holdings, Inc. (the “Order”).

       7.      On July 22, 2022, this Court entered the Protective Order.

       8.      The Protective Order provides, “Any producer of documents, materials, answers to

discovery, testimony, or other information may designate as ‘Confidential’ any such information

produced in this Case . . . if the producing Party believes in good faith that such information

constitutes or contains nonpublic information that is proprietary, commercially sensitive, or

confidential technical, business, financial, or personal information or should otherwise be

protected under applicable law, regulation, or contract . . . .” Protective Order ¶ 1.

       9.      The Committee is a signatory to the Protective Order.

       10.     The Committee, through its professionals, has engaged in the discovery process

related to the Order. In connection with the discovery process, various parties in interest to these

Chapter 11 Cases have designated discovery material as Confidential under the Protective Order.



                                                  3
       Case 22-90032 Document 1069 Filed in TXSB on 11/16/22 Page 4 of 7




       11.     Forty-six of the exhibits attached to the Witness and Exhibit List have been

designated as Confidential pursuant to the Protective Order. Specifically, Exhibits 1-37, 39-41,

and 43-48 to the Witness and Exhibit List have been designated as Confidential (together, the

“Designated Materials”).

       12.     This Court’s procedures require that “exhibits must be filed on CM/ECF in advance

of the hearing.” Court Procedures, Hon. Marvin Isgur, United States Bankruptcy Judge. ¶ 13.

       13.     The Committee has provided unredacted versions of the Exhibits sought to be

sealed to counsel to the Debtors and the other parties in interest participating in discovery relating

to the Order, pending the Court’s disposition of this Motion to Seal.

                                      BASIS FOR RELIEF

       14.     Bankruptcy Code section 105(a) codifies the inherent equitable powers of the

bankruptcy court and empowers the bankruptcy court to “issue any order, process, or judgment

that is necessary or appropriate to carry out the provisions of this title.” Section 107(b) provides

bankruptcy courts with the power to issue orders that will protect entities from potential harm that

may result from the disclosure of certain confidential information. See In re Gen. Homes Corp.,

181 B.R. 898, 903 (Bankr. S.D. Tex. 1995). This section provides, in relevant part: “On request

of a party in interest, the bankruptcy court shall, and on the bankruptcy court’s own motion, the

bankruptcy court may—protect an entity with respect to a trade secret or confidential research,

development, or commercial information . . . .” 11 U.S.C. § 107(b)(1).

       15.     Further, Bankruptcy Rule 9018 defines the procedures by which a party may move

for relief under Bankruptcy Code section 107(b), providing, in relevant part, that on motion “the

court may make any order which justice requires . . . to protect the estate or any entity in respect

of a trade secret or other confidential research, development, or commercial information . . . .”



                                                  4
       Case 22-90032 Document 1069 Filed in TXSB on 11/16/22 Page 5 of 7




Fed. R. Bankr. P. 9018. Additionally, Local Rule 9037-1 provides, in relevant part, that “[a]

motion, reply or other document may initially be filed under seal if the filing party simultaneously

files a motion requesting that the document be maintained under seal.”

        16.     Here, certain producing parties have taken the position that the Designated

Materials contain confidential information. The Committee, therefore, submits that good cause

exists to authorize the Committee to file the Designated Materials under seal.

        17.     No previous request for the relief sought herein has been made by the Committee

to this or any other court.

                                    RESERVATION OF RIGHTS

        18.     The Committee reserves the right to challenge any assertion that the Designated

Materials constitute confidential information at a later date.



        WHEREFORE, for the reasons set forth herein, the Committee respectfully requests that

the Court enter the Proposed Order granting the relief requested herein and provide such other and

further relief as the Court deems just, proper, and equitable.




                              [Remainder of Page Intentionally Left Blank]




                                                   5
     Case 22-90032 Document 1069 Filed in TXSB on 11/16/22 Page 6 of 7




Houston, Texas
Dated: November 16, 2022      By:   /s/ Eric M. English
                                    PORTER HEDGES LLP
                                    Eric M. English (TX Bar No. 24062714)
                                    M. Shane Johnson (TX Bar No. 24083263)
                                    1000 Main Street, 36th Floor
                                    Houston, Texas 77002-2764
                                    Telephone: (713) 226-6000
                                    Facsimile: (713) 226-6248
                                    eenglish@porterhedges.com
                                    sjohnson@porterhedges.com
                                    -and-
                                    AKIN GUMP STRAUSS HAUER & FELD LLP
                                    Lacy M. Lawrence
                                    State Bar No. 24055913; S.D. Tex. No. 995675
                                    2300 N. Field St., Suite 1800
                                    Dallas, TX 75201
                                    Telephone: (214) 969-2800
                                    Facsimile: (214) 969-4343
                                    llawrence@akingump.com
                                    -and-
                                    Michael S. Stamer (admitted pro hac vice)
                                    Abid Qureshi (admitted pro hac vice)
                                    Jason P. Rubin (admitted pro hac vice)
                                    One Bryant Park
                                    New York, New York 10036
                                    Telephone: (212) 872-1000
                                    Facsimile: (212) 872-1002
                                    mstamer@akingump.com
                                    aqureshi@akingump.com
                                    jrubin@akingump.com
                                    -and-
                                    Scott L. Alberino (admitted pro hac vice)
                                    Benjamin L. Taylor (admitted pro hac vice)
                                    Robert S. Strauss Tower
                                    2001 K Street, N.W.
                                    Washington, DC 20006-1037
                                    Phone: (202) 887-4000
                                    Fax: (202) 887-4288
                                    salberino@akingump.com
                                    taylorb@akingump.com

                                    Counsel to the Official Committee of Bondholders of
                                    GWG Holdings, Inc., et al.

                                     6
      Case 22-90032 Document 1069 Filed in TXSB on 11/16/22 Page 7 of 7




                              CERTIFICATE OF SERVICE


       I certify that on November 16, 2022, I caused a copy of the foregoing document to be
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.

                                         /s/ Eric M. English
                                         Eric M. English




                                            7
